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                    EXHIBIT 2
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From:                                                                                                     Jaime Dole <Jaime.Dole@arlaw.com>
Sent:                                                                                                     Friday, November 16, 2018 4:27 PM
To:                                                                                                       Vaughan, Aria (CRT); Louis Fisher; John Hooks
Cc:                                                                                                       John Compton; Natasha Merle; Kristen A. Johnson; John Cusick; Singleton, Natane (CRT)
Subject:                                                                                                  Barnhardt, et al. v. Meridian Public School District - District's Responses to Government's Discovery
Attachments:                                                                                              District's Verified Discovery Responses to Government.pdf


Counsel,

Please see attached the District’s verified responses to the United State’s first set of discovery. Responsive documents
can be downloaded using the link below:

https://arlaw.sharefile.com/d‐sffd8a83c9fb43e8a

Regards,

Jaime

           Jaime Dole
           Paralegal
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                A dams and Reese LLP




           1018 Highland Colony Parkway, Suite 800 | Ridgeland, MS 39157
           main 601.353.3234 | direct 601.292.0773 |
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                                  THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                          EASTERN DIVISION

JOHN BARNHARDT, ET AL.                                                                             PLAINTIFFS

and

UNITED STATES OF AMERICA                                                             PLAINTIFF INTERVENOR

v.                                                               CIVIL ACTION NO. 4:65-cv-01300–HTW-LRA

MERIDIAN MUNICIPAL SEPARATE
SCHOOL DISTRICT, ET AL.                                                                          DEFENDANTS


                  Meridian Public School District’s Responses to United States’ First Set of
           Interrogatories, Requests for Production of Documents, and Requests for Admissions


           Defendant Meridian Public School District responds to the United States’ first set of interrogatories,

requests for production of documents, and requests for admissions under Federal Rules of Civil Procedure

as follows:

                                               INTERROGATORIES

Interrogatory No. 1:         Provide a description of steps the District has taken to comply with paragraphs 87,

90, 93, and 97 of the 2013 Consent Order.

Answer:            Steps the District has taken to comply with paragraphs 87, 90, 93, and 97 of the Consent

Order include:

      •    The District provided the Department of Justice with a response to the letter dated June 10, 2015.

      •    August 8, 2016 - DOJ submitted feedback to the district

      •    March 30, 2017 - DOJ provided the district with further feedback

      •    April 26, 2017 - Hard copies of the District’s SROs and SSO policies and procedures were

           provided to DOJ
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     •    June 10, 2015 - the police department and complaint process procedures and form were uploaded

          to NetDocuments

     •    See also materials previously provided via NetDocuments under Law Enforcement.

Interrogatory No. 2:     Provide a description of how any current or proposed policies regarding school

resource officers differ from the version submitted to the United States on April 26, 2017 during our site

visit.

          Answer:        See Response to Request for Production No. 3, below.

                            REQUESTS FOR PRODUCTION OF DOCUMENTS

Request No. 1: All documents and communications regarding the Meridian Public School District Police

Department’s policies and procedures on Use of Force, including but not limited to the definition of force

discussed by Chief Clayton at his deposition taken pursuant to FRCP 30(b)(6). See MPSD 30(b)(6)

Clayton Dep.

          Response:      See documents produced as MPSD-001025-1034.

Request No. 2: All documents and communications regarding any request for the United States’ feedback

on policies and procedures as discussed by Chief Clayton at his deposition taken pursuant to FRCP

30(b)(6). See MPSD 30(b)(6) Clayton Dep.

          Response:      Please reference the District’s response in NetDocuments to the DOJ’s letter

dated June 10, 2015. In addition to conference calls, a site visit was conducted on Tuesday, May 17, 2017,

by Aria Vaughn and the Department of Justice’s Policing expert.

Request No. 3: All current or proposed district policies regarding school resource officers and school

security officers. See MPSD 30(b)(6) Clayton Dep.

          Response:      With the exception of the revisions to policies 3.03, 4.08, and 5.01 suggested by

the United States, there have been no changes or proposed changes to the “Campus Police Department




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Law Enforcement Policies & Procedures” provided April 26, 2017. The United States is already in

possession of the “Campus Police Department Law Enforcement Policies & Procedures.” With respect to

the proposed revisions to policies 3.03, 4.08, and 5.01, see documents produced as MPSD-001035

through MPSD-001069, which represent the United States’ suggested revisions and the District’s revised

versions of these policies.

Request No. 4: All professional development or training materials the District provides to school resource

officers and school security officers regarding Meridian Public School District Police Department’s policies

and procedures.

        Response:        See documents produced as MPSD-000802 through MPSD-001024. These

documents have been previously provided as part of the District’s bi-annual reports. The bi-annual reports

may contain further information on professional development and other training of SROs.

                                      REQUESTS FOR ADMISSIONS

Request for Admission No. 1: Admit the authenticity of all documents produced by MPSD in response to

the United States’ Interrogatories and Requests for Production of Documents above.

        Response:        Objection. This in an improper use of a request for admission. The District is not

aware of any inaccurate information contained in documents created by its employees as of the date of

production. This District does not stipulate to the admissibility of any documents without proper foundation

and other evidentiary requirements being met.

Request for Admission No. 2: Admit that all documents produced by MPSD in response to the United

States’ Interrogatories and Requests for Production of Documents above are accurate as of the date of

production.

        Response:        Objection. This in an improper use of a request for admission. The District is not

aware of any inaccurate information contained in documents created by its employees as of the date of




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                                        CERTIFICATE OF SERVICE

        I hereby certify that I have this day filed a notice of service of the above document with the Clerk of
Court using the CM/ECF system and caused a true and correct copy of the above document to be served
on counsel for the United States via electronic mail as listed below:

        Aria Vaughn (Aria.Vaughn@usdoj.gov)
        Natane Singleton (Natane.Singleton@usdoj.gov)
        United States Department of Justice
        Civil Rights Division, Educational Opportunities Section
        950 Pennsylvania Ave., N.W., PHB 4300
        Washington, DC 20530

        Electronic service has also been provided to counsel for the Private Plaintiffs.

        Dated: November 16, 2018.


                                                            /s/ John S. Hooks




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